Case 1:23-cv-01010-SOH Document 36                        Filed 01/24/24 Page 1 of 1 PageID #: 1067



                                 IN THE UNITED STATES DISTRICT COURT
                                    WESTERN DISTRICT OF ARKANSAS
                                         EL DORADO DIVISION

CLOVERDALE ASSEMBLY OF GOD, INC.                                                                      PLAINTIFF

v.                                            Case No. 1:23-cv-01010

CHURCH MUTUAL INSURANCE
COMPANY, S.I.                                                                                        DEFENDANT

                                                      ORDER

           Before the Court is Defendant’s Motion to Take Deposition Outside the Discovery Window (ECF

No. 22), Plaintiff’s Motion for Extension of Time to Complete Discovery Deadline (ECF No. 24),

Defendant’s Motion for Summary Judgment (ECF No. 30), and Plaintiff’s Motion for Enlargement of Time

to Respond to Motion for Summary Judgment (ECF No. 33). The trial is this matter is set to commence

the week of March 11, 2024. ECF No. 13.

           Plaintiff’s Counsel states that he is undergoing serious medical conditions and has been for

several months. See ECF No. 33. The Court finds that good cause for the instant motions seeking

extensions of time has been shown. It appears that discovery has not yet been completed by either party

and the matter will not be ready for trial on March 11, 2024. The trial in this matter is hereby continued

and all pre-trial deadlines are hereby lifted. The Court will issue a new scheduling order at a later

date. Accordingly, Defendant’s Motion to Take Deposition Outside the Discovery Window (ECF No.

22), Plaintiff’s Motion for Extension of Time to Complete Discovery Deadline (ECF No. 24),

Defendant’s Motion for Summary Judgment (ECF No 30) 1, and Plaintiff’s Motion for Enlargement

of Time to Respond to Motion for Summary Judgment (ECF No. 33) are hereby DENIED as MOOT.

           IT IS SO ORDERED, this 24th day of January, 2024.

                                                                        /s/ Susan O. Hickey
                                                                        Susan O. Hickey
                                                                        Chief United States District Judge




1
    Defendant’s Motion for Summary Judgment can be refiled after a new scheduling order is issued.
